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        data for the past three years, it seems to be doing just that. In the PCSSD,
        eliminating discipline problems and closing the disparity gap is everyone’s
        responsibility.

(Doc. 5531, pp. 7-8). Specifically, PCSSD should be adjudicated unitary for the following reasons.

        1.      Sub Section One: Data Collection

        Judge Miller found that PCSSD was in compliance with this area in 2011. (Doc. 4507, pp.

62-63). The District continues to comply with this section of the Plan. Beginning with the 2011-

2012 school year, since Judge Miller’s Order (Doc. 4507), the Annual Discipline report(s) includes

discipline data, including in-school suspensions, data analysis and recommendations.

        2.      Sub Section Two: Criteria for Identifying Discipline Issues

        Judge Miller found that PCSSD was in compliance with this area in 2011. (Doc. 4507, p.

63). The District continues to identify discipline issues through (1) identifying teachers and other

staff who are experiencing problems which require attention, (2) identifying schools that have

atypically high discipline rates, and (3) identifying schools that have atypically high racial

disparities in discipline.

        Teachers and other staff with high discipline rates are identified by gathering the data into

the District’s student database, eSchool. The data are extracted in the form of a report by the

District’s IT department. This report is reviewed by the Office of Equity and Pupil Services.

        The Assistant Superintendent for Equity and Pupil Services secured the services of Dr.

Mack Hines and From the Heart International Education Services, Inc. to provide Professional

Development (“PD”) for staff identified as having high rates of discipline referrals. The PD was

delivered through group and individual sessions during site visits to schools and after school hours.

        Based on data from the District’s Annual Discipline Report(s), schools with the highest

number of referrals and suspensions were identified as schools in need of support. A year-to-year




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data comparison is used to determine an increase or decrease in referral and suspension rates.

Resources and services are provided to those schools to address any disparity.

       Utilizing enrollment and discipline data, inservice(s) are provided to school administrators

to address any disproportionality within the individual school. Administrators then complete and

submit the discipline disproportionality worksheet to the Director of Pupil Services. Those schools

which are identified as disproportionate create an action plan for each individual school.

       3.      Subsection Three: Goals to eliminate disparity

       The District adheres to this goal to reduce the number of discipline problems and classroom

disruptions caused by all students, regardless of race or background. The discipline management

plan was developed to eliminate disparities and provide staff with additional alternative supports.

Other student and staff supports such as multiage classrooms for elementary students, alternative

learning classrooms for secondary students, teacher cohort training regarding culturally responsive

teaching, Positive Behavioral Intervention Supports, AVID, and Teen Court are being, and in most

cases have been, implemented to reduce the disparity. Additionally, ADE POINT Mentoring

Program provides for first and second year teachers to receive classroom management culturally

responsive training.

       4.      Subsection Four: Comprehensive Study

       PCSSD contracted with the University of Memphis to develop a Formative Evaluation

Process for School Improvement (FEPSI) during the 2011-2012 school year to analyze data

regarding African-American males. This special report provides a summary of the school climate

perceptions of African-American males in grades eleven and twelve. Additionally, the District

contracted From the Heart International Educational Services, Inc. to conduct a study (focus group)

for African-American males in grades 9-12 at both Sylvan Hills High and Jacksonville High




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schools during the 2012-2013 school year. The study’s focus was to acquire feedback on the

student’s perceptions, opinions, beliefs and attitudes towards their experiences at school and to

provide meaningful data that supports change and to bring about improvement.

       5.      Subsection Five: Initiative to reduce discipline

       Initiatives such as multiage classrooms for elementary students, alternative learning

classrooms for secondary students, and teacher cohort training for culturally responsive teaching

are utilized to reduce discipline. Positive Behavioral Intervention Supports, AVID and Teen Court

have also been implemented as measures to reduce discipline.

II.    Student Achievement

       PCSSD believes it is unitary in the area of student achievement because it has substantially

complied in good faith with the requirements of Plan 2000 and the goals of the Ross Plan. Under

a publicly elected School Board, PCSSD has attained this through a structured, systemic and

targeted instructional approach that positively affects achievement for all students while

specifically targeting African American students to reduce the performance gap with their non-

black peers. More specifically, PCSSD should be found unitary for the following reasons.

       1.      School Improvement Plans

       Since 2011, PCSSD has designed and implemented an organizational structure to provide

a foundational leadership platform to support equitable and high yield research-based initiatives.

The development of School Improvement Plans 1 uniquely designed to support Plan 2000 began

during the 2017-18 school year and was refined during the 2019-20 school year to allow for real-

time systemic monitoring of instructional initiatives, targeted interventions that support African


       1
         The State of Arkansas used the Arkansas Comprehensive School Improvement Plan
(ACSIP) as its School Improvement Plan platform until 2015. The State began the transition to
INDISTAR as the School Improvement Plan platform during the 2015-2016 school year.


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American students, and the development of leading indicators that support a results orientation for

instruction and student performance. These School Improvement Plans elevate the monitoring

ability of the District’s Steering Committee in the analysis of PCSSD practices that support

achievement of African American.

       2.      Advancement Via Individual Determination (“AVID”)

       Another foundational support to progress toward equitable outcomes for African American

students as well as impacting all students, is Advancement Via Individual Determination

(“AVID”) (2019-20). AVID provides both school-wide and targeted instructional strategies along

with professional development to approximately 260 teachers and administrators to promote a

positive districtwide impact to redress the student performance gap. PCSSD was the first district

in the state to implement AVID at the elementary level and was also the first district in the nation

to implement AVID throughout K-12.

       3.      Collaborative Instructional Approaches and Initiatives

       PCSSD initiatives such as forming of Curricular Teams (since 2012) to increase rigor

across all schools, Professional Learning Communities (since 2011) to support collaborative

instructional approaches based on student performance outcomes which has been strengthened

districtwide through additional professional development (2019-2020), the Equity Lab initiative

to provide high quality instruction to African American and/or high poverty students (since 2018),

and a balanced assessment framework (2019-20) to accurately identify and pedagogically respond

to student performance outcomes has built a foundation for systemic action to address student

achievement. Since 2018, instructional initiatives have been vetted through the 90-90-90 research

approach. A set of instructional practices were identified in schools where 90% of the students

were minority, came from poverty and had 90% achievement on standardized tests (Reeves, 2004).




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Pedagogical practices such as small group instruction, RISE (which is the State’s balanced literacy

initiative) basal readers to support reading comprehension, credit recovery at the secondary level,

the acquisition and use of Next Generation Science textbooks, and the Donaldson Scholarship

initiative have been deployed as well.

       4.      Initiatives and Developments Supporting African American Students and
               Lifting All Students

       PCSSD has refined and executed Plan 2000 to support African American students while at

the same time increasing achievement for all students. This is shown through the following

programs, focuses, and initiatives.

   •   Postsecondary. African American and students from poverty with ACT prep and

       postsecondary scholarships have demonstrated the district’s intent to follow the Ross Plan

       to ultimately attain the elimination of the performance gap between African American

       students and their non-black peers.

   •   Professional Development that supports high yield instructional initiatives. Effective

       professional development must utilize outside of school training, at-school support, and in

       the classroom coaching. Substantial effort has been made to provide learning opportunities

       to central office administrators, principals, assistant principals, and instructional coaches

       on such topics as Culturally Relevant Teaching, AVID, Professional Learning

       Communities, Implicit Bias, 90-90-90 school-based instructional practices, school

       improvement planning, balanced assessment, and PBIS. The implementation of these high-

       yield instructional practices is monitored in the action plans of each school’s improvement

       plan.

   •   Literacy Instruction and AVID. Teachers are supported at the elementary level regarding

       literacy instruction and AVID. At the secondary level, AVID professional development


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           and small group instruction is provided either outside the district, at district-wide

           professional development, or in the classroom by coaches.

       •   Donaldson Scholars Academy. The parties previously agreed that “the Donaldson

           Scholars Academy plan is to become a substantial component of PCSSD’s desegregation

           obligation on the subject of student achievement.” (Doc. 5021, ¶ 3). This is an initiative to

           improve the academic achievement of all students with special attention to African

           American students and others who are at-risk of academic failure due to socioeconomic

           disadvantages and other factors. Participation in the program and successful completion

           are requisites for scholarship awards.

III.       Facilities

           PCSSD believes it is unitary regarding facilities because it has substantially complied with

the requirements of Plan 2000 as well as the promises it has made to this Court. However, some

background context is appropriate.

           Most of the substantial decisions that resulted in commencement of construction of Mills

High Schools, the Mills Middle School conversion, Robinson Middle School, and the construction

at the Sylvan Hills High School site were made and approved by the Commissioner of Education

while PCSSD was under the control of the State of Arkansas and functioned with the

Commissioner of Education as its school board. The Arkansas Department of Education

implemented a “sustainment, restoration and modernization” plan (the SRM) that resulted in the

current construction projects. These projects were approved by Commissioner Johnny Key during

March of 2016. PCSSD is currently transitioning from the SRM to a facilities three-tiered platform

for success ultimately overseen by the elected PCSSD Board of Directors.




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       PCSSD has complied with the Court’s admonition to file bi-monthly reports tracking the

construction and remodeling of the affected facilities. However, there is much additional

information to present to the Court at the appropriate time as to why PCSSD believes it to be

unitary in facilities. The three-tiered platform for success adjusts Plan A with which this Court is

fully familiar. The Mills High School project is substantially complete except for final decisions

as to whether or not to convert the current ROTC Building to a new facility to house special

programs. The Robinson Middle School project is substantially complete with the outstanding

exception of seeking to convert unfinished place to house another special program. The Sylvan

Hills High School project continues apace and is currently under budget.

       PCSSD has not closed any school located in predominantly black communities. The district

has begun no new construction or added capacity to any facility without first obtaining board

approval and notifying the Joshua Intervenors.

       The Court is further aware that since Judge Miller’s opinion, PCSSD has separated from

what is now Jacksonville North Pulaski School District beginning with the 2016-2017 school year.

This largely coincided with the reinstitution of a popularly elected school board for PCSSD.

PCSSD believes that even during these challenging times, the final resolution and evaluation of its

actions will demonstrate substantial compliance with the requirements of Plan 2000 and a good

faith commitment to the attainment of facilities that are safe, attractive, and equal.

IV.    Monitoring

       PCSSD believes it is unitary regarding monitoring because it has substantially complied

with the requirements of Plan 2000 as well as the promises it has made to this Court. Judge Miller

previously explained PCSSD’s “duty to continue implementing this provision in good faith until

it is declared entirely unitary and excused from court supervision.” (Doc. 4507, p. 107).



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PCSSD has acted in good faith, and has substantially complied with its ongoing duty as to

monitoring.

        WHEREFORE, Defendant, Pulaski County Special School District, hereby notifies the

Court that it believes it is unitary in the area of discipline, student achievement, and facilities.


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